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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION
 IN RE: 3M COMBAT ARMS                            Case No. 3:19md2885
 EARPLUG PRODUCTS
 LIABILITY LITIGATION
                                                  Judge M. Casey Rodgers
 This Document Relates to:                        Magistrate Judge Gary R. Jones

 Niela Peters, 8:20-cv-18049


                        NOTICE OF DESIGNATED FORUM

       Plaintiff, Niela Peters, by and through counsel of record, files this Notice of

Designated Forum, and would show the Court that venue would be proper in the United

States District Court, Northern District of Illinois absent direct filing on the

administrative docket. Plaintiff reserves the right to amend this designation of proper

venue and forum, once case specific fact and expert discovery is complete.

       Plaintiff therefore requests that the Court take notice of this designation of forum.

Dated: March 23, 2022

                                                   Respectfully submitted,

                                            By:     /s/ Joel L. DiLorenzo
                                                   Joel L. DiLorenzo
                                                   Alabama State Bar No. 7575-J64D
                                                   THE DILORENZO LAW FIRM, LLC
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                                                   Attorney for Plaintiff
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                            CERTIFICATE OF SERVICE

      I do hereby certify that on this 23rd day of March, 2022, a true and correct copy of

the foregoing was electronically filed with the Clerk of Court and served using the

CM/ECF system.

                                                /s/ Joel L. DiLorenzo




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